 1    MORRISON & FOERSTER LLP
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 5
      Counsel for Creditors Sand Hill Ventures, LLC,
 6    Power Play Real Estate Management, LLC and
      First Pitch, LLC
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10
      In re                                                   Case No. 08-31002 (TEC)
11
      BDB MANAGEMENT III, LLC,                                Chapter 11
12
                                   Debtor.                    NOTICE OF APPEARANCE AND
13                                                            REQUEST FOR SPECIAL NOTICE
14                                                            [No Hearing Required]
15

16    TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE, THE UNITED STATES
      TRUSTEE, AND OTHER INTERESTED PARTIES:
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              PLEASE TAKE NOTICE that pursuant to Section 1109(b) title 11 of the United States
18
      Code (the “Bankruptcy Code”) and Rules 2002, 3017, and 9010(b) of the Federal Rules of
19
      Bankruptcy Procedure (the “Bankruptcy Rules”), Morrison and Foerster LLP hereby appears in
20
      this Case No. 08-31002 before this Court on behalf of each of Sand Hill Ventures, LLC, Power
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      Play Real Estate Management, LLC and First Pitch, LLC (collectively, the “Creditors”), creditors
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      in this case, and hereby requests that all notices given or required to be given in this case be given
23
      to and served upon the undersigned at the following office, address and telephone number:
24
                     G. Larry Engel
25                   Vincent J. Novak
                     Morrison & Foerster LLP
26                   425 Market Street
                     San Francisco, CA 94105-2482
27                   Telephone:    (415) 268-7000
                     Facsimile:    (415) 268-7522
                     Email: LEngel@mofo.com; VNovak@mofo.com
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      NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE                                                  1
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 1           This Notice of Appearance and Request for Special Notice is filed on behalf of each of the
 2    Creditors individually for the sake of convenience, and nothing herein shall be construed to
 3    indicate that any Creditor is proceeding jointly with any other Creditor, nor does this Notice of
 4    Appearance and Request for Special Notice constitute a waiver by any Creditor of its right to take
 5    positions adverse to any other Creditor.
 6           Neither this Notice of Appearance and Request for Special Notice nor any subsequent
 7    appearance, pleading, claim, proof of claim, document, suit, motion nor any other writing or
 8    conduct shall constitute a waiver by any Creditor of any:
 9           (a)     Right to have any and all final orders in any and all non-core matters entered only
10    after de novo review by a United States District Court Judge or Bankruptcy Appellate Panel;
11           (b)     Right to trial by jury in any proceeding as to any and all matters so triable therein,
12    whether or not the same be designated legal or private rights, or in any case, controversy or
13    proceeding related hereto, notwithstanding the designation vel non of such matters as “core
14    proceedings” pursuant to 28 U.S.C. § 157(b)(2)(H), and whether such jury trial right is pursuant
15    to statute or the United States Constitution;
16           (c)     Right to have the reference of this matter withdrawn by the United States District
17    Court in any matter or proceeding subject to mandatory or discretionary withdrawal; and
18           (d)     Other rights, claims, actions, defenses, setoffs, recoupments or other matters to
19    which any Creditor is entitled under any agreement or at law or in equity or under the United
20    States Constitution.
21           All of the above rights are expressly reserved and preserved unto each Creditor without
22    exception, and with no purpose of confessing or conceding jurisdiction in any way by this filing
23    or by any other participation in these matters.
24           PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the
25    Bankruptcy Code, the foregoing request includes not only the notices and papers referred to in the
26    rules specified above, but also includes, without limitation, orders and notices of any application,
27    motion, petition, pleading, request, plan, disclosure statement, complaint, demand, answers or
28    reply papers, made by the debtor or any third party in the bankruptcy case or any adversary

      NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE                                                     2
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 1    proceedings or contested matters herein, whether formal or informal, written or oral, transmitted
 2    or conveyed by mail, delivery, telephone, telecopy, facsimile, electronic mail, personal deliver or
 3    other means.
 4    Dated: June 12, 2008
 5                                                 MORRISON & FOERSTER LLP
                                                   G. LARRY ENGEL
 6                                                 VINCENT J. NOVAK
 7
                                                   By:     /s/ G. Larry Engel
 8                                                         G. Larry Engel
 9                                                 Counsel for Sand Hill Ventures, LLC, Power
                                                   Play Real Estate Management, LLC and First
10                                                 Pitch, LLC
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      NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE                                                 3
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